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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                             )
                                                      )          8:05CR138
                      Plaintiff,                      )
                                                      )
       vs.                                            )            ORDER
                                                      )
GUSTAVO AMBRIZ-SALDANA,                               )
                                                      )
                      Defendant.                      )


       This matter is before the court on the motion of Michael D. Nelson to withdraw as CJA
court-appointed counsel for the defendant, Gustavo Ambriz-Saldana (Filing No. 40). Since
retained counsel, Hugh I. Abrahamson and Shaun F. Downey, have entered an appearance
for Ambriz-Saldana (Filing No. 42) , Mr. Nelson’s motion to withdraw (Filing No. 40) is granted.
Withdrawing counsel shall submit his CJA 20 voucher to the Office of the Federal Public
Defender within forty-five (45) days of this order.
       The clerk shall provide a copy of this order to the Office of the Federal Public Defender.
       IT IS SO ORDERED.
       DATED this 9th day of August, 2005.
                                                      BY THE COURT:
                                                      s/Thomas D. Thalken
                                                      United States Magistrate Judge
